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                     Exhibit 11
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    2         `      IN THE UNITED STATES DISTRICT COURT
    3                  FOR THE NORTHERN DISTRICT OF OHIO
    4                             EASTERN DIVISION
    5         -----------------------------X
              IN RE: NATIONAL PRESCRIPTION            MDL No. 2804
    6         OPIATE LITIGATION,
                                                      Case No. 17-MD-2804
    7         This document relates to:
    8         All Cases                               Hon. Dan A. Polster
    9         -----------------------------X
   10                       * HIGHLY CONFIDENTIAL *
   11         * SUBJECT TO FURTHER CONFIDENTIALITY REVIEW                 *
   12                        VIDEOTAPED DEPOSITION
   13                                     OF
   14                           LACEY R. KELLER
   15                          New York, New York
   16                       Thursday, June 13, 2019
   17

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   19

   20

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   23

              Reported by:
   24         ANNETTE ARLEQUIN, CCR, RPR, CRR, RSA
   25

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   2   question I'm asking you, please absolutely     2          If there are any exhibits that
   3   feel free to tell me that, and I will do my    3      folks would like me to put on the ELMO,
   4   very best to rephrase it. I don't want the     4      please just say so.
   5   questions to be tricky. They're not            5   BY MS. LEVY:
   6   intended to confuse you. I would like to       6      Q. Ms. Keller, have you seen this
   7   make sure that you understand them before      7   deposition notice before?
   8   you answer them.                               8      A. No.
   9          Can we agree that if you don't,         9      Q. This is the first time you've
  10   you'll ask me to rephrase?                    10   taken a look at it?
  11      A. Thanks. I will.                         11      A. Yes.
  12      Q. Is there any reason that you            12      Q. Okay. If you don't mind, please
  13   can't give truthful, honest testimony         13   turn to the back page that says Exhibit A.
  14   today?                                        14          Exhibit A is a request for three
  15      A. No.                                     15   categories of documents.
  16      Q. Okay. I'm going to ask you              16          Do you see that?
  17   questions. The attorneys that came with       17      A. I do.
  18   you today may object to questions that I      18      Q. Okay. Let's start with No. 1,
  19   ask. Unless they instruct you not to          19   "All documents or other materials you
  20   answer, I would ask that you please answer    20   reviewed since the date of your report that
  21   the questions.                                21   have not specifically been identified in
  22          If they instruct you not to            22   your report in preparation for your
  23   answer, we'll probably quibble about that,    23   expected testimony."
  24   but you'll get to follow your counsel's       24          Do you see that?
  25   advice on that; otherwise, we can take        25      A. I do.
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   1                                                  1
   2   breaks?                                        2       Q. Have you prepared a list of
   3          If you need a break at any time,        3   documents that would respond to No. 1?
   4   I would ask that you just answer any           4       A. I believe I have.
   5   pending question I have before we take a       5       Q. Okay. I'm going to mark what
   6   break.                                         6   is -- I'm going to hand you what we're
   7          So if you need to use the               7   going to mark as Exhibit 2.
   8   restroom or check your email or are hungry     8           (Keller Exhibit 2, List of
   9   or any of that, feel free to just tell me      9       documents that respond to request 1 in
  10   and we can take a break when we get to an     10       Exhibit A on Exhibit 1, marked for
  11   appropriate stopping point.                   11       identification, as of this date.)
  12          MS. LEVY: Okay. I would like to        12   BY MS. LEVY:
  13      mark as Exhibit 1, the deposition          13       Q. Do you see Exhibit 2?
  14      notice that was issued in this case.       14       A. I do.
  15          (Keller Exhibit 1, Track 1             15       Q. Take a look at that. Is
  16      Defendants' Second Amended Notice of       16   Exhibit 2 a list of documents that respond
  17      Oral Videotaped Deposition of Lacey R.     17   to request 1 in Exhibit A on Exhibit 1?
  18      Keller, marked for identification, as      18       A. It's my intention that it does.
  19      of this date.)                             19       Q. Okay. That's what I figured.
  20          MS. LEVY: Do you folks want            20           How did -- who prepared
  21      copies, physical copies of the             21   Exhibit 2?
  22      exhibits? If you do, just raise your       22       A. Exhibit 2, I'm sorry, yes. I
  23      hand. I'm going to pass them down          23   did.
  24      through Catie. And share them among        24       Q. And how did you prepare
  25      yourselves.                                25   Exhibit 2? What did you do to come up with

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   2          So as I understand your opinions,       2   that is the result of your own metrics,
   3   they are opinions from a data science point    3   right?
   4   of view that say if you ran these metrics,     4      A. Yes, you can characterize it that
   5   here's what the results would look like.       5   way.
   6          Is that a fair assessment at a          6      Q. You don't mean to use
   7   very, very high level?                         7   "suspicious" as a technical term meaning
   8          MS. CONROY: Objection.                  8   suspicious under the Controlled Substances
   9          You can answer.                         9   Act, right?
  10       A. I would say that's a fair              10          MR. LEDLIE: Object to the form.
  11   assessment. I was asked to apply the          11          You can answer.
  12   compliance metrics to the labeler's data,     12      A. Yes, when I say "suspicious," I
  13   including chargebacks and IMS, IQ, yeah.      13   mean that they have either triggered one of
  14       Q. And you don't intend to offer any      14   the metrics, which are -- I'll leave it at
  15   opinions about which one of those metrics     15   that.
  16   is the right one, do you?                     16      Q. Okay. And you haven't, you
  17       A. That is correct. I don't endorse       17   haven't gone -- have you ever met with
  18   any of the metrics or not endorse.            18   anyone from DEA about this case and your
  19   Agnostic would be the correct term, yeah.     19   report?
  20       Q. Okay. And you're not going to          20      A. I have not met with anyone about
  21   offer any opinions that a particular          21   this case or my report from the DEA.
  22   registrant should have or is required to      22      Q. Okay. Why do you hesitate?
  23   employ which ones of the metrics? That is     23      A. I have spoken to DEA officials
  24   not what you were retained to do, correct?    24   about the ARCOS data and how to process it,
  25       A. That is correct.                       25   but clarifying questions of what does an S
                                           Page 51                                            Page 53
   1                                                  1
   2       Q. And that is beyond your expertise       2   mean and what does this correction number
   3   to do.                                         3   mean like...
   4          Do you agree with that?                 4      Q. Okay. When you have spoken to
   5       A. That is correct.                        5   the DEA, it has been entirely in the
   6       Q. And I think, if I'm reading your        6   context of the data itself, correct?
   7   report correctly, you don't take any           7      A. Absolutely.
   8   opinion as to what the DEA or the              8      Q. You've never asked anyone from
   9   Controlled Substances Act means when it        9   DEA, "Do these various metrics make sense
  10   talks about suspicious orders.                10   to you"? You've never asked that question?
  11          You are not taking a position as       11      A. Never.
  12   to what specifically the DEA means, right?    12      Q. And you've never asked anybody
  13       A. Yes, I believe that's right.           13   from DEA, "Are these metrics in line with
  14       Q. And I think it can make our day        14   what DEA expects or requires"? That's
  15   easier if I understand the scope of this.     15   nothing you've ever asked the DEA, correct?
  16          What you have done is you've used      16      A. That is correct.
  17   a number of different metrics to show that    17      Q. And that wasn't -- the point of
  18   if a particular defendant had looked at the   18   your report is not to say what the DEA
  19   data this way, this is what that defendant    19   requires, but rather to say what the data
  20   would have seen.                              20   had available for people to look at.
  21          Is that fair?                          21         Is that a proper simplification?
  22       A. Yes.                                   22         MS. CONROY: Objection.
  23       Q. And when you use the term              23         You can answer.
  24   "suspicious," which you do quite a number     24      A. I would say, yes, it was what
  25   of times in your report, what you mean by     25   data was available to apply the -- what
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   2   data was available to apply the compliance     2   DEA reporting requirements, do you?
   3   metrics and what those metrics would have      3       A. No.
   4   revealed.                                      4       Q. And you don't know what triggers
   5      Q. And, again, I think you've               5   a reporting requirement for a manufacturer?
   6   answered this, but I want to be sure.          6       A. No.
   7          You do not offer the opinion that       7       Q. You don't know what triggers a
   8   any defendant had an obligation to apply       8   reporting requirement for a distributor, do
   9   any of the particular compliance metrics,      9   you?
  10   right?                                        10       A. No.
  11      A. That is correct.                        11       Q. And you don't know what triggers
  12      Q. And it is also beyond your              12   reporting requirements for pharmacies?
  13   expertise to opine on what would have         13       A. No.
  14   happened in the real world if someone had     14       Q. It is beyond the scope of your
  15   applied the metrics? That is beyond what      15   expertise to opine on what triggers a
  16   you are an expert in, correct?                16   reporting responsibility specifically?
  17          MS. CONROY: Objection.                 17   That's beyond what you have been asked to
  18          You can answer.                        18   do here, correct?
  19      A. Yes. There is a section in the          19       A. Correct.
  20   report, the small labeler impact section,     20       Q. And also just to make sure we
  21   that, depending on how this question is       21   narrow in on what your opinions are, you
  22   worded, might come in conflict with that,     22   are not an expert in what DEA does with
  23   but that's not the intention.                 23   suspicious reports? That is beyond your
  24      Q. We'll get to that.                      24   expertise as well, right?
  25          But just generally, in the small       25       A. That is correct.
                                           Page 55                                            Page 57
   1                                                  1
   2   labeler impact, in your own words, you         2      Q. And I think there are places in
   3   phrase it as a hypothetical, right?            3   your report where you talk about orders
   4       A. Correct.                                4   that could have been stopped. And I just
   5       Q. You aren't suggesting -- the            5   want to make sure that I understand the
   6   defendant that's subject to the small          6   parameters of what you intend to say about
   7   labeler impact is Janssen, correct?            7   that.
   8       A. Yes, I believe so.                      8          When you talk about orders that
   9       Q. And what you do in that section         9   could have been stopped, you mean from a
  10   is you model, hypothetically, if Janssen      10   data perspective hypothetically, correct?
  11   had looked at the data this way, then         11      A. Yes. I mean that the compliance
  12   hypothetically, orders could have been        12   metrics showed that order or that triggered
  13   stopped, right?                               13   that order and so, yes, it could have been
  14       A. That is correct.                       14   stopped.
  15       Q. But you do not go further in this      15      Q. So someone, somewhere could have
  16   report to opine that Janssen had an           16   stopped those orders?
  17   obligation to do that or should have done     17      A. Yes, they could have seen it or
  18   that or that the DEA expected Janssen to do   18   stopped it.
  19   that.                                         19      Q. But beyond what the data shows,
  20          That's beyond your expertise,          20   do you have any opinions whatsoever on how
  21   right?                                        21   that would work in the real world?
  22       A. That is beyond, yes.                   22          MS. CONROY: Objection.
  23       Q. Okay. And, also, you don't know        23          You can answer.
  24   or you don't have the expertise to know --    24      A. No, I have no opinions on the
  25   you don't consider yourself an expert in      25   real world.

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   1                                                  1
   2   them separately, correct?                      2   didn't -- you were not asked to and you
   3       A. That is correct.                        3   didn't look specifically at Allergan?
   4       Q. And the reason you didn't is            4          MS. CONROY: Objection.
   5   because you were asked to assume these         5      A. As far as we were presenting
   6   groupings and to present the data this way;    6   results, let's say, ala, table 1 and 2,
   7   is that right?                                 7   correct.
   8          MS. CONROY: Objection.                  8      Q. Now beginning on page 16 in
   9       A. Yes or from our own                     9   Section J, you describe your compliance
  10   understanding. Yes.                           10   metric application.
  11       Q. Well, that's what I want to know.      11          Are you with me?
  12   Which one was it?                             12      A. Yes.
  13          With Allergan specifically,            13      Q. And you state in paragraph 51, "I
  14   because that's my client, were you asked to   14   was instructed by counsel to apply metrics
  15   group it with Teva or did you independently   15   derived and used by any manufacturer or
  16   decide to do it that way?                     16   distributor and also to apply metrics
  17       A. I would say it would be most           17   applied in enforcement actions, McKesson
  18   correct to say that we had grouped them       18   and Masters, to all data sets to detect
  19   from doing this for a long time and that it   19   prescribing and purchasing patterns of
  20   was agreed upon that that was okay.           20   unusual size, frequency and pattern."
  21       Q. Okay.                                  21          Do you see that?
  22       A. So the data doesn't come that          22      A. I do.
  23   way. I have to process it and do the          23      Q. When you say "I was instructed by
  24   groupings. We presented the groupings. We     24   counsel," who does that refer to? What
  25   continued with those groupings as agreed      25   counsel?
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   2   upon.                                          2       A. That would refer to Linda Singer.
   3           Does that help?                        3       Q. And so when we talk about
   4        Q. And so when you talk in table 7,       4   counsel, it's Linda Singer who asked you to
   5   for example, about Allergan and you do         5   do these various metrics that we are going
   6   break it out for table 7, what is the          6   to talk about in a minute?
   7   difference there in Allergan and Teva?         7       A. Linda Singer provided us with the
   8   What Allergan products?                        8   assignment, yes.
   9        A. I'm sorry, table 7?                    9       Q. In No. 1 -- well, this term that
  10        Q. I'm sorry, my fault. Let me           10   is used in the end of paragraph 51,
  11   reask the question.                           11   "patterns of unusual size, frequency and
  12           Table 6. I keep saying 7, but         12   pattern" and there is a cite there, what is
  13   it's table 6.                                 13   that cite? Do you know?
  14           In table 6 on page 28, what I         14       A. I understand that to be the Code
  15   really would like to understand is what you   15   of Federal Regulations when it comes to
  16   understand the difference between Allergan    16   diversion, but I'd have to have the actual
  17   and Teva in that table?                       17   language in front of me to know.
  18        A. So for that table, I think there      18       Q. I don't mean to give you a memory
  19   were -- the purpose of this table is to       19   quiz on the cites. That is not the purpose
  20   show compliance metrics over time, and so     20   of the question.
  21   there were differences over time.             21          There are no specific
  22           And so to the extent that we          22   requirements for how a registrant is
  23   could help show that granularity, that was    23   supposed to calculate patterns of unusual
  24   the purpose of breaking them apart.           24   size, frequency, and purchasing patterns of
  25        Q. But you didn't ask -- you             25   a -- sorry, let me ask the question again.
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   2   them separately, correct?                      2   didn't -- you were not asked to and you
   3       A. That is correct.                        3   didn't look specifically at Allergan?
   4       Q. And the reason you didn't is            4          MS. CONROY: Objection.
   5   because you were asked to assume these         5      A. As far as we were presenting
   6   groupings and to present the data this way;    6   results, let's say, ala, table 1 and 2,
   7   is that right?                                 7   correct.
   8          MS. CONROY: Objection.                  8      Q. Now beginning on page 16 in
   9       A. Yes or from our own                     9   Section J, you describe your compliance
  10   understanding. Yes.                           10   metric application.
  11       Q. Well, that's what I want to know.      11          Are you with me?
  12   Which one was it?                             12      A. Yes.
  13          With Allergan specifically,            13      Q. And you state in paragraph 51, "I
  14   because that's my client, were you asked to   14   was instructed by counsel to apply metrics
  15   group it with Teva or did you independently   15   derived and used by any manufacturer or
  16   decide to do it that way?                     16   distributor and also to apply metrics
  17       A. I would say it would be most           17   applied in enforcement actions, McKesson
  18   correct to say that we had grouped them       18   and Masters, to all data sets to detect
  19   from doing this for a long time and that it   19   prescribing and purchasing patterns of
  20   was agreed upon that that was okay.           20   unusual size, frequency and pattern."
  21       Q. Okay.                                  21          Do you see that?
  22       A. So the data doesn't come that          22      A. I do.
  23   way. I have to process it and do the          23      Q. When you say "I was instructed by
  24   groupings. We presented the groupings. We     24   counsel," who does that refer to? What
  25   continued with those groupings as agreed      25   counsel?
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   1                                                  1
   2   upon.                                          2       A. That would refer to Linda Singer.
   3           Does that help?                        3       Q. And so when we talk about
   4        Q. And so when you talk in table 7,       4   counsel, it's Linda Singer who asked you to
   5   for example, about Allergan and you do         5   do these various metrics that we are going
   6   break it out for table 7, what is the          6   to talk about in a minute?
   7   difference there in Allergan and Teva?         7       A. Linda Singer provided us with the
   8   What Allergan products?                        8   assignment, yes.
   9        A. I'm sorry, table 7?                    9       Q. In No. 1 -- well, this term that
  10        Q. I'm sorry, my fault. Let me           10   is used in the end of paragraph 51,
  11   reask the question.                           11   "patterns of unusual size, frequency and
  12           Table 6. I keep saying 7, but         12   pattern" and there is a cite there, what is
  13   it's table 6.                                 13   that cite? Do you know?
  14           In table 6 on page 28, what I         14       A. I understand that to be the Code
  15   really would like to understand is what you   15   of Federal Regulations when it comes to
  16   understand the difference between Allergan    16   diversion, but I'd have to have the actual
  17   and Teva in that table?                       17   language in front of me to know.
  18        A. So for that table, I think there      18       Q. I don't mean to give you a memory
  19   were -- the purpose of this table is to       19   quiz on the cites. That is not the purpose
  20   show compliance metrics over time, and so     20   of the question.
  21   there were differences over time.             21          There are no specific
  22           And so to the extent that we          22   requirements for how a registrant is
  23   could help show that granularity, that was    23   supposed to calculate patterns of unusual
  24   the purpose of breaking them apart.           24   size, frequency, and purchasing patterns of
  25        Q. But you didn't ask -- you             25   a -- sorry, let me ask the question again.
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   2          You are not aware of any specific       2       Q. You do not know of any place in
   3   rules or regulations for a registrant on       3   the real world that applies that average,
   4   how to calculate patterns of unusual size      4   correct?
   5   or frequency, correct?                         5          MS. CONROY: Objection.
   6       A. So I think, as I stated earlier,        6       A. I wouldn't know.
   7   that's not my area of expertise.               7       Q. And it is not your opinion that
   8       Q. And you're not aware of any?            8   any registrant should have or had any
   9       A. I wouldn't be able to say, but...       9   requirement to employ that metric in the
  10       Q. Okay. The first metric that you        10   real world? That is not the opinion you're
  11   employ is double the national average. And    11   offering in this case, correct?
  12   I'm looking now on page 17.                   12       A. Correct, that's not my area of
  13       A. Correct.                               13   expertise.
  14       Q. Are you with me?                       14       Q. Looking at No. 3, the McKesson
  15          And that metric, again, was one        15   8,000 rule, again -- I apologize if this is
  16   that Linda Singer asked you to do, correct?   16   getting tedious. The McKesson 8,000 rule
  17       A. Correct.                               17   is a metric that you are asked to apply by
  18       Q. And you didn't find it in any DEA      18   Linda Singer, correct?
  19   regulations?                                  19       A. Correct.
  20       A. Correct.                               20       Q. And you were asked to look at
  21       Q. You are not aware of any place in      21   what would the data show if you used this
  22   the real world where this metric is used,     22   set of assumptions, right?
  23   correct?                                      23          MS. CONROY: Objection.
  24          MS. CONROY: Objection.                 24       A. Yes.
  25       A. I wouldn't know for sure.              25       Q. Like No. 1 and 2, the McKesson
                                           Page 91                                             Page 93
   1                                                  1
   2       Q. Do you have a guess?                    2   8,000 rule is not a metric that you have
   3         MS. CONROY: Objection.                   3   ever seen in any DEA guidance or
   4       A. No.                                     4   regulation, correct?
   5       Q. Okay. And you are -- I think you        5       A. I think that's correct.
   6   already answered this earlier, but you are     6       Q. Are you aware of any limitation
   7   not offering any opinion that this metric      7   anywhere in the DEA regulations or in the
   8   is somehow a requirement on registrants,       8   Controlled Substances Act or any guidance
   9   right? That is not your opinion?               9   interpreting them that puts a specific
  10       A. Correct. That's not my area of         10   limitation on dosage units?
  11   expertise.                                    11          MS. CONROY: Objection.
  12       Q. And you are not offering an            12       A. I would say that's outside of my
  13   opinion that failure to employ this metric    13   expertise.
  14   is somehow unlawful or misconduct?            14       Q. And it is not your opinion in
  15         That is beyond your expertise,          15   this case that any particular defendant was
  16   correct?                                      16   required or obligated to employ this metric
  17       A. Correct.                               17   in running its business, correct?
  18       Q. Going to the second metric that        18       A. That's correct. That's outside
  19   you applied, triple national average,         19   of my expertise.
  20   again, that metric you were asked to run by   20       Q. Even with respect to McKesson, it
  21   Linda Singer, correct?                        21   is outside your area of expertise to say
  22       A. Correct.                               22   that anybody, McKesson or anybody else, had
  23       Q. That did not come from any DEA         23   a duty to run a metric in the way that you
  24   guidance or any DEA regulations, correct?     24   have, right?
  25       A. Correct.                               25       A. Yes, I believe that is correct.

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   2       Q. Going down to No. 4, Maximum            2   I have there, that's where it would have
   3   Monthly Trailing Six-Month Threshold, which    3   been derived from.
   4   in parentheses says, quote, "common sense."    4       Q. And beyond that, you don't know
   5           I think you told me this before        5   anything other than you were asked to run
   6   the break, common sense is not a term that     6   it, correct?
   7   you came up with, right?                       7       A. Yeah, I was asked to review the
   8       A. Correct. I've heard this rule           8   metric and implement it on the data.
   9   referred to colloquially as the common         9       Q. With respect to the Qualitest
  10   sense rule.                                   10   Endo 25/50 percent national average, that
  11       Q. Who have you heard that                11   metric also came -- that metric was
  12   colloquially? Who has referred to this        12   presented to you by the attorneys as
  13   rule as the common sense rule?                13   something that you should run based on
  14       A. I honestly couldn't remember.          14   documents that you were provided, correct?
  15   It's been -- I've heard it so many times      15       A. It was either a metric that we
  16   that I --                                     16   found or the attorneys provided. I
  17       Q. Had you heard it from lawyers in       17   honestly can't remember.
  18   the case?                                     18       Q. And for this metric, which was
  19       A. Sure.                                  19   it? Did you stumble across a document and
  20       Q. Have you ever heard it from DEA?       20   say, hey, we should run this? Or did the
  21       A. No. Like I said, I only spoke to       21   attorneys provide you documents and say
  22   the DEA about the ARCOS data.                 22   based on these documents, we'd like for you
  23       Q. Okay. And it is not your opinion       23   to run it as if this were the law of the
  24   in this case that this metric is the most     24   land?
  25   sensible metric? Even though the term         25           MS. CONROY: Objection.
                                           Page 95                                            Page 97
   1                                                  1
   2   might suggest that, that's actually not        2       A. I'd really have to review my
   3   your opinion in this case. Am I right          3   notes to know for sure. I don't remember.
   4   about that?                                    4       Q. Okay. And you don't recall
   5       A. That's correct.                         5   seeing this metric in any directive from
   6       Q. Okay. Have you read the Masters         6   DEA or any guidance from DEA? That's not
   7   Pharmaceutical opinion from the D.C.           7   your opinion in this case?
   8   circuit in 2017?                               8       A. That's correct. I don't recall
   9       A. I think I skimmed it a while ago.       9   seeing it in any guidance, nor is it my
  10       Q. You don't intend to offer any          10   opinion to offer.
  11   opinions about what the law is as a result    11       Q. And I think, to short-circuit
  12   of that opinion, correct?                     12   this, if we look at page 19, 20, 21, and 22
  13       A. That's correct.                        13   of your report, those list other metrics
  14       Q. And you don't intend to offer any      14   that you were asked to run, correct?
  15   opinions as to what the law might require     15       A. Yes. I would say I was asked to
  16   as a result of that opinion, do you?          16   review the documents, interpret the metrics
  17       A. That's correct.                        17   and run them on the data.
  18       Q. Okay. Sorry, back to the common        18       Q. You will not offer any opinion in
  19   sense threshold. That is not a threshold      19   this case as to whether these metrics are
  20   that came from -- where did that threshold    20   appropriate for a registrant to do in real
  21   come from?                                    21   life, whether a registrant should have done
  22       A. Do you mean where was the metric       22   them or had any requirement to do them in
  23   derived or?                                   23   real life? That is outside of the scope of
  24       Q. Yes. Where was metric derived?         24   the opinions you intend to offer in this
  25       A. So I have it -- whatever citation      25   case, correct?

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